
27 So. 3d 742 (2010)
Michael MADDEN, Appellant,
v.
STATE of Florida, Appellee.
No. 4D09-1889.
District Court of Appeal of Florida, Fourth District.
February 10, 2010.
Michael Madden, Polk City, pro se.
Bill McCollum, Attorney General, Tallahassee, and Helene C. Hvizd, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
Based upon the state's concession of error, we reverse the portion of the sentencing order which improperly credited Madden with 578 days rather than 584 days for time served. We affirm as to all other issues raised on appeal.
Affirmed in part, reversed in part, and remanded for correction of the sentence.
GROSS, C.J., WARNER and LEVINE, JJ., concur.
